430 F.2d 1315
    TEXAS COMMITTEE ON NATURAL RESOURCES et al., Plaintiffs-Appellants,v.UNITED STATES of America, J. Lynn Futch, State Director,Farmers Home Administration, Lakeview RecreationAssociation; and J. R. Singleton, Executive Director, TexasParks &amp; Wildlife Department, Defendants-Appellees.
    No. 28962 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Aug. 25, 1970.
      Edward C. Fritz, Dallas, Tex., Sam Houston Clinton, Austin, Tex., for appellants.
      Roger Tyler, Vince Taylor, Austin, Tex., Seagal V. Wheatley, U.S. Atty., San Antonio, Tex., H. J. Cureton, Meridian, Tex., Alan S. Rosenthal, Reed Johnston, Jr., Attys., Dept. of Justice, Washington, D.C., for appellees.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A group of conservationists instituted this action to enjoin the United States and its duly constituted agencies from disbursing the proceeds of a loan for the construction of a golf course in Meridian State Park, Texas.
    
    
      2
      After trial, the District Court dismissed the suit.
    
    
      3
      Subsequently, the appellees have abandoned all plans for the construction of the golf course in Meridian State Park and have entered into a binding contract for the purchase of private land to be used for said purposes.
    
    
      4
      Accordingly, we dismiss the appeal as moot and vacate the decision and direct its dismissal so that the judgment will spawn no legal consequences.  See United States of America v. Knippers and Day Real Estate, Inc., 5 Cir., 1970,  425 F.2d 1081 and the cases there cited.
    
    
      5
      The judgment below is vacated and the case is remanded to the District Court with directions to dismiss the proceedings as moot.
    
    
      6
      Vacated, remanded with directions.
    
    